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Frorn: Sandra Ty|er <|eety|er€@gmai|.com>
To: cmecf@nmcoun.fed.us

Date: 04/15!2018 07:12 PM

Subject: regarding Steve Curry

 

Steve Curry is incarcerated in Otero County Detention Center in Albuquerque, New Mexico.

He needs to be released as he has full immunity as a whislte blower but his attorney and Judge
Bratt are ignoring his status.

Please file the attached on behalf of his Wife, me, Sandra L. Tyler as l am in Grand Junction, CO
Which is 12 hours driving from Grand Junction. 970-316-1351

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